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                    UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                          HOUSTON DIVISION


                                     )
RAMCHANDRA ADHIKARI, et al.,         )
                                     )         Civil Action No. H-09-1237
                 Plaintiffs,         )
                                     )         Judge Keith P. Ellison
     v.                              )
                                     )
DAOUD & PARTNERS, et al.,            )
                                     )
                 Defendants.         )
                                     )



 PLAINTIFFS’ OPPOSITION TO KBR’S MOTION FOR PROTECTIVE ORDER AND
                CROSS MOTION TO COMPEL DISCOVERY


                               PUBLIC COPY




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                                CERTIFICATE OF SERVICE


        I, Agnieszka M. Fryszman, hereby certify that on March 9, 2012, I caused a true and
correct copy of Plaintiffs’ Motion to Compel Discovery from the KBR Defendants (Redacted
Public Copy – Material Under Seal Deleted), to be served on the Court and all parties of record
via the Court’s CM/ECF electronic filing system.

        I further caused a true and correct copy of Plaintiffs’ Motion to Compel Discovery from
the KBR Defendants (Filed Under Seal Pursuant to Confidentiality Order), to be filed under seal
via the Court’s CM/ECF electronic filing system and to be served by commercial carrier upon
the following persons entitled to receive the material under seal:

                      Michael W. Mengis
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                      Counsel for Daoud & Partners


Dated: March 9, 2012

                                     Respectfully submitted,


                                     /s/ Agnieszka M. Fryszman
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                                     Counsel for Plaintiffs
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                           CERTIFICATE OF CONFERENCE


       On March 2, 2012, Counsel for Plaintiffs conferred with counsel for Defendants, who
oppose this Motion.




                                    /s/ Agnieszka M. Fryszman
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